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8

9                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
10

11                                                       ) Case No.
12
       ELIZA SEDAGHATFAR,                                )
      individually, and on behalf of all                 )
13    others similarly situated,                         )  2:21-CV-04490
14    Plaintiff,                                         )
      v.                                                 ) NOTICE OF SETTLEMENT
15
      SIMPLE MOVING, INC., and                           )
16    DOES 1 through 10, inclusive,                      )
17
      and each of them                                   )
      Defendant.                                         )
18
                                                         )
19
           NOW COMES THE PLAINTIFF by and through their attorney to
20
     respectfully notify this Honorable Court that this case has settled as to all named
21
     Defendants. Plaintiff requests that this Honorable Court vacate all pending
22
     hearing dates and allow sixty (60) days with which to file dispositive
23

24
     documentation. This Court shall retain jurisdiction over this matter until fully

25
     resolved.

26   Dated: July 26, 2021             Law Offices of Todd M. Friedman, P.C.
27
                                                              By: s/ Adrian R. Bacon
28
                                                                    Adrian R. Bacon



                                       Notice of Settlement
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1
                              CERTIFICATE OF SERVICE
2

3    Filed electronically on July 26, 2021, with:
4
     United States District Court CM/ECF system
5

6
     Notification sent electronically on July 26, 2021, to:

7    To the Honorable Court, all parties and their Counsel of Record
8

9
     s/Adrian R. Bacon
10    Adrian R. Bacon
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                                        Notice of Settlement
